Case 21-03003-sgj Doc 46-18 Filed 05/21/21   Entered 05/21/21 18:11:45   Page 1 of 6




                               EXHIBIT 18
Case 21-03003-sgj Doc 46-18 Filed 05/21/21           Entered 05/21/21 18:11:45       Page 2 of 6



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ATTORNEYS FOR DEFENDANT JAMES DONDERO

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

In re:                            §                                  Case No. 19-34054
                                  §
HIGHLAND CAPITAL MANAGEMENT, L.P. §                                  Chapter 11
                                  §
    Debtor.                       §

                                   §
HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                   §
    Plaintiff.                     §
v.                                 §                                 Adversary No. 21-03003-sgj
                                   §
JAMES D. DONDERO,                  §
                                   §
    Defendant.                     §

           DEFENDANT JAMES DONDERO’S OBJECTIONS AND RESPONSES
                 TO HIGHLAND CAPITAL MANAGEMENT, L.P.’S
                     SECOND REQUEST FOR ADMISSIONS

TO:      Highland Capital Management, L.P., by and through its attorneys of record, Zachery Z.
         Annable, Hayward PLLC, 10501 N. Central Expy., Ste. 106, Dallas, Texas 75231.

         Defendant James Dondero (“Defendant” or “Dondero”) serves his Objections and

Responses to Debtor Highland Capital Management, L.P.’s (“Debtor” or “Highland”) Second

Request for Admissions (“Requests”), as follows:




DEFENDANT JAMES DONDERO’S OBJECTIONS AND RESPONSES TO HIGHLAND CAPITAL MANAGEMENT, L.P.’S
SECOND REQUEST FOR ADMISSIONS                                               PAGE 1 OF 5
CORE/3522697.0002/166180258
Case 21-03003-sgj Doc 46-18 Filed 05/21/21       Entered 05/21/21 18:11:45   Page 3 of 6



Dated: May 7, 2021                       Respectfully submitted,

                                         /s/Deborah Deitsch-Perez


                                         John Y. Bonds, III
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                                         -and-

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DEFENDANT JAMES DONDERO’S OBJECTIONS AND RESPONSES TO HIGHLAND CAPITAL MANAGEMENT, L.P.’S
SECOND REQUEST FOR ADMISSIONS                                               PAGE 2 OF 5
CORE/3522697.0002/166180258
Case 21-03003-sgj Doc 46-18 Filed 05/21/21        Entered 05/21/21 18:11:45      Page 4 of 6



                              CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that, on May 7, 2021, a true and correct copy of the
foregoing document was served via email on counsel for the Debtor.


                                                  /s/ Michael P. Aigen
                                                  Michael P. Aigen




DEFENDANT JAMES DONDERO’S OBJECTIONS AND RESPONSES TO HIGHLAND CAPITAL MANAGEMENT, L.P.’S
SECOND REQUEST FOR ADMISSIONS                                               PAGE 3 OF 5
CORE/3522697.0002/166180258
Case 21-03003-sgj Doc 46-18 Filed 05/21/21                       Entered 05/21/21 18:11:45               Page 5 of 6




                                    OBJECTIONS AND RESPONSES1

REQUEST FOR ADMISSION NO. 1: Admit that in December 2019, James Dondero made a
payment to the Debtor, a portion of which was applied to reduce principal and/or interest due
under one or more of the Notes.

RESPONSE:

         ADMIT.

REQUEST FOR ADMISSION NO. 2: Admit that James Dondero did not file a proof of claim
in the Bankruptcy Case concerning or relating to the “mutual obligation” referred to in paragraph
41 of the Amended Answer.

RESPONSE:

         ADMIT.

REQUEST FOR ADMISSION NO. 3: Admit that James Dondero did not file a proof of claim
in the Bankruptcy Case concerning or relating to the “debt” referred to in paragraph 41 of the
Amended Answer.

RESPONSE:

         ADMIT.

REQUEST FOR ADMISSION NO. 4: Admit that prior to serving his Amended Answer,
James Dondero never informed the Debtor of his belief that any provision of any of the Notes
was ambiguous, as alleged in paragraph 45 of the Amended Answer.

RESPONSE:

         DENY.

REQUEST FOR ADMISSION NO. 5: Admit that as of the date of the service of these
Requests for Admission, James Dondero has not (a) identified any particular provision or clause
of any Note that he contends is ambiguous (any such provision or clause, the “Identified
Provision”), and (b) informed the Debtor of the Identified Provision.



1
  Defendant makes these responses subject in all respects to his Motion for Withdrawal of the Reference [Adv. Dkt.
No. 21] and the Motion to Stay Pending the Motion to Withdraw the Reference of Plaintiff’s Complaint [Adv. Dkt.
No. 22] filed on April 15, 2021. For the reasons stated in the motions, Defendant believes that the reference should
be withdrawn and this proceeding stayed while the motion to withdraw the reference is considered. Defendant does
not waive, but instead hereby preserves, his right to a jury trial and all rights and requests for relief asserted in the
motions. Defendant does not consent to the Bankruptcy Court determining this proceeding or entering final orders or
judgments in this proceeding. Defendant requests that the reference be withdrawn and that the District Court
adjudicate this proceeding.
DEFENDANT JAMES DONDERO’S OBJECTIONS AND RESPONSES TO HIGHLAND CAPITAL MANAGEMENT, L.P.’S
SECOND REQUEST FOR ADMISSIONS                                                                             PAGE 4 OF 5
CORE/3522697.0002/166180258
Case 21-03003-sgj Doc 46-18 Filed 05/21/21     Entered 05/21/21 18:11:45     Page 6 of 6



RESPONSE:

         DENY.




DEFENDANT JAMES DONDERO’S OBJECTIONS AND RESPONSES TO HIGHLAND CAPITAL MANAGEMENT, L.P.’S
SECOND REQUEST FOR ADMISSIONS                                               PAGE 5 OF 5
CORE/3522697.0002/166180258
